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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                        :     Crim. No. 3:13CR19(JCH)
                                                 :
         v.                                      :
                                                 :
 JESSE C. LITVAK                                 :     July 30, 2018

                  GOVERNMENT=S MOTION TO DISMISS COUNT FOUR

       This case has again been remanded to the Court following an evidentiary ruling by the

Second Circuit.   Two juries have found the defendant Jesse C. Litvak guilty of securities fraud,

the Court and the Second Circuit have twice found that there was sufficient evidence to support

those convictions, and the Second Circuit has twice validated the Government’s prosecution

theory and held that the defendant’s misrepresentations were not immaterial as a matter of law.

Nonetheless, in light of the totality of the circumstances unique to this case, the Government has

concluded that the interests of justice would not be served by a third trial.

       Accordingly, the Government respectfully moves the Court to dismiss Count Four of the

Indictment with prejudice.

                                                     Respectfully submitted,

                                                     JOHN H. DURHAM
                                                     UNITED STATES ATTORNEY

                                                                /s/
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2018, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system.   Parties may access this filing through the Court’s CM/ECF System.


                                                           /s/
                                                    JONATHAN N. FRANCIS
                                                    ASSISTANT UNITED STATES ATTORNEY




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